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AO 246(Rev,01/14) Probation OrderUnder 18 U.S.C. § 3607


                                    United States District Court
                                                                     for the
                                                          Eastern District of Virginia
                                                                                                        Q|            D'5"i ^'C"i COunT
                                                                                                             "v-'-          \=V.'S
                  United States of America
                               V.

                                                                               Case No.


                            Defendant

                                         PROBATION ORDER UNDER 18 U.S.C. § 3607

       The defendant having been found guilty ofan offense described under 21 U.S.C. § 844, and it appearing that the
defendant (1) has not, prior tothe commission ofsuch offense, been convicted ofviolating a federal orstate law relating to
controlled substances, and(2) has notpreviously been the subject of a disposition under this subsection,
        IT IS ORDERED: The defendant is placedon probation as provided in 18 U.S.C. § 3607 for a period of
              L/lC Pi            without a judgment of conviction first being entered. The defendant must comply with
the standard corfditions ofprobation set forth on the next page of this order, and the following special conditions:
         1.      The defendant must participate ina drug education or treatment program, or both, ifordered to do sobythe
                   supervising probation officer.
         2.        The defendant must undergo drugtesting, including but not limited to urinalysis, if ordered to do so by the
                   supervising probation officer.
         3.        The defendant must not commit any other, federal, state, or local crime.
         4.        The defendant must:




Date:
                                                                                                Judge's signature

                                                                                UNITED STATES MAGISTRATE JUDGE



                                                             Defendant's Consent

         I have read the proposed probation order under 18 U.S.C. § 3607 and the conditions of probation, including the
special conditions above. I understand that if I violate any conditions of probation, the court may enter a judgment of
conviction and proceed as provided by law. I consent to the entry of the order.
        I also understand that, if I have not violated any condition of my probation, the court, without entering a judgment
of conviction, (1) may dismiss the proceedings and discharge me from probation before the expiration of the term of
probation, or (2) must dismiss the proceedings and discharge me from probation at the expiration of the term of probation.
         I also understand that, if I was under age 21 at the time of the offense, I am entitled to have the record of my
arrest and conviction expunged upon application.

Date:             LL
                                                                                          Ly'Defendant's signa^re


                                                                                         Signature ofdefendant's attorney


                                                                                     Printed name ofdefendant's attorney
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